                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION
United States of America,                         )
                                    Plaintiff,    )
vs.                                               ) Case No. 10-00162-21-CR-W-FJG
Dorothea L. Cain,                                 )
                                    Defendant.    )

                                          ORDER
         Pending before the Court is the issue of defendant’s mental competency. On
September 29, 2010, defendant filed a motion for mental examination and medical
treatment (Doc. #217) which was granted by Chief United States Magistrate Judge Robert
E. Larsen (Doc. #218, October 5, 2010). Judge Larsen held a hearing regarding
defendant’s mental competency on December 16, 2010, at which time the parties stipulated
to the forensic evaluation (Doc. #244, November 30, 2010) by Leslie Powers, Ph.D.
         Chief Magistrate Judge Larsen issued a report and recommendation (Doc. #248,
December 17, 2010), finding defendant competent to stand trial and to assist in her own
defense. No objections to the report and recommendation were filed.
         The Court, after independent review of the record and applicable law, finds that
defendant is competent to understand the nature and consequences of the proceedings
against her and to properly assist in her own defense, and that she is competent to stand
trial.
         IT IS SO ORDERED.


                                                  /s/Fernando J. Gaitan, Jr.
                                                  Judge Fernando J. Gaitan, Jr.
                                                  Chief United States District Judge

Dated: 01/07/11
Kansas City, Missouri




         Case 4:10-cr-00162-FJG      Document 260      Filed 01/07/11   Page 1 of 1
